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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR06-425-MJP
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   EFREN SERRANO-ORTIZ,                 )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Methamphetamine; Conspiracy to Distribute

15 Heroin; Conspiracy to Distribute Cocaine

16 Date of Detention Hearing:     February 22, 2007

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with the above-listed drug offenses. The maximum

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 penalty of these offenses is in excess of ten years. There is therefore a rebuttable presumption

02 against defendant as to both dangerousness and flight risk, under 18 U.S. C. §3142(e).

03          2.     Defendant was interviewed by Pretrial Services in the District of Arizona. He

04 previously resided in the State of Washington but does not have any current ties to this District.

05 His mother resides in Mexico. He has been unemployed due to a medical condition. Defendant

06 does not contest detention at this time.

07          3.     Taken as a whole, the record does not effectively rebut the presumption that no

08 condition or combination of conditions will reasonably assure the appearance of the defendant as

09 required and the safety of the community.

10 It is therefore ORDERED:

11          (1)    Defendant shall be detained pending trial and committed to the custody of the

12                 Attorney General for confinement in a correction facility separate, to the extent

13                 practicable, from persons awaiting or serving sentences or being held in custody

14                 pending appeal;

15          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

16                 counsel;

17          (3)    On order of a court of the United States or on request of an attorney for the

18                 Government, the person in charge of the corrections facility in which defendant is

19                 confined shall deliver the defendant to a United States Marshal for the purpose of

20                 an appearance in connection with a court proceeding; and

21 / / /

22 / / /

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United States

03               Pretrial Services Officer.

04         DATED this 22nd day of February, 2007.



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06                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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